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EXHIBIT B
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                                                                                                                                                                                    Rates of duty
                                                            Heading/                                       Article description                                                  1
                                                           subheading                                                                                                                                           2
                                                                                                                                                               General                    Special

                                                   ‘‘9903.01.22 ..................    Articles the product of China and Hong Kong that are in-            The duty provided         The duty provided     No change’’.
                                                                                        formational materials, including but not limited to, publi-         in the applicable         in the applicable
                                                                                        cations, films, posters, phonograph records, photo-                 subheading.               subheading.
                                                                                        graphs, microfilms, microfiche, tapes, compact disks,
                                                                                        CD ROMs, artworks, and news wire feeds.



                                                     4. by inserting the following new heading                columns of the HTSUS labeled ‘‘Heading/                of Duty 1—General’’, ‘‘Rates of Duty 1—
                                                   9903.01.23 in numerical sequence, with the                 Subheading’’, ‘‘Article Description’’, ‘‘Rates         Special’’ and ‘‘Rates of Duty 2’’, respectively:
                                                   material in the new heading inserted in the

                                                                                                                                                                                    Rates of duty
                                                            Heading/                                       Article description                                                  1
                                                           subheading                                                                                                                                           2
                                                                                                                                                               General                    Special

                                                   ‘‘9903.01.23 ..................    Except for products described in headings 9903.01.21                The duty provided         The duty provided     No change’’.
                                                                                        and 9903.01.22, and other than products for personal                in the applicable         in the applicable
                                                                                        use included in accompanied baggage of persons arriv-               subheading.               subheading.
                                                                                        ing in the United States, articles the product of China
                                                                                        and Hong Kong that: (1) were loaded onto a vessel at
                                                                                        the port of loading, or in transit on the final mode of
                                                                                        transport prior to entry into the United States, before
                                                                                        12:01 a.m. eastern standard time on February 1, 2025;
                                                                                        and (2) are entered for consumption, or withdrawn from
                                                                                        warehouse for consumption, on or after 12:01 a.m.
                                                                                        eastern standard time on February 4, 2025, and before
                                                                                        12:01 a.m. eastern standard time on March 7, 2025.



                                                      5. by inserting the following new U.S. note             described in the applicable subheading. For            hostilities is clearly indicated by the
                                                   2(s) to subchapter III of chapter 99 of the                heading 9802.00.80, the additional duties              circumstances.’’
                                                   HTSUS in numerical sequence:                               apply to the value of the article assembled            [FR Doc. 2025–02293 Filed 2–3–25; 1:15 pm]
                                                      ‘‘2. (s) For the purposes of heading                    abroad (in China and Hong Kong), less the              BILLING CODE 9111–14–P
                                                   9903.01.20, products of China and Hong                     cost or value of such products of the United
                                                   Kong, other than products described in                     States, as described.
                                                   heading 9903.01.21, heading 9903.01.22,
                                                                                                                 Products of China and Hong Kong that are            DEPARTMENT OF HOMELAND
                                                   heading 9903.01.23, and other than products
                                                   for personal use included in accompanied                   provided for in heading 9903.01.20 shall               SECURITY
                                                   baggage of persons arriving in the United                  continue to be subject to antidumping,
                                                   States, shall be subject to an additional 10%              countervailing, or other duties, taxes, fees,          U.S. Citizenship and Immigration
                                                   ad valorem rate of duty. Notwithstanding                   exactions and charges that apply to such               Services
                                                   U.S. note 1 to this subchapter, all products               products, as well as to the additional ad
                                                   of China and Hong Kong that are subject to                 valorem rate of duty imposed by heading                [CIS No. 2804–25]
                                                   the additional ad valorem rate of duty                     9903.01.20.
                                                   imposed by heading 9903.01.20 shall also be                   Products of China and Hong Kong that are            Termination of the October 3, 2023
                                                   subject to the general rates of duty imposed               provided for in heading 9903.01.20 shall not           Designation of Venezuela for
                                                   on products of China and Hong Kong entered                 be eligible for the administrative exemption           Temporary Protected Status
                                                   under subheadings in chapters 1 to 97 of the
                                                                                                              from duty and certain taxes at 19 U.S.C.               AGENCY: U.S. Citizenship and
                                                   tariff schedule. Products of China and Hong
                                                   Kong that are eligible for temporary duty                  1321(a)(2)(C)—the so-called ‘‘de minimis’’             Immigration Services, U.S. Department
                                                   exemptions or reductions under subchapter II               exemption.
                                                                                                                                                                     of Homeland Security.
                                                   to chapter 99 shall be subject to the                         (t) Heading 9903.01.21 covers only
                                                                                                              products of China and Hong Kong, that are              ACTION: Notice.
                                                   additional ad valorem rate of duty imposed
                                                   by heading 9903.01.20.                                     donations, by persons subject to the
                                                                                                                                                                     SUMMARY: On October 3, 2023,
                                                      The additional duties imposed by heading                jurisdiction of the United States, of articles,
                                                   9903.01.20 shall not apply to goods for which              such as food, clothing, and medicine,
                                                                                                                                                                     Venezuela was newly designated for
                                                   entry is properly claimed under a provision                intended to be used to relieve human                   Temporary Protected Status (TPS) based
                                                   of chapter 98 of the tariff schedule pursuant              suffering, except to the extent that the               on the determination that there were
                                                   to applicable regulations of U.S. Customs and              President determines that such donations (A)           extraordinary and temporary conditions
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                                                   Border Protection (‘‘CBP’’), and whenever                  would seriously impair his ability to deal             in that country that prevented the safe
                                                   CBP agrees that entry under such a provision                                                                      return of Venezuelan nationals, and that
                                                                                                              with any national emergency declared under
                                                   is appropriate, except for goods entered                                                                          permitting such Venezuelan nationals to
                                                   under heading 9802.00.80; and subheadings                  section 1701 of title 19 of the U.S. Code, (B)
                                                   9802.00.40, 9802.00.50, and 9802.00.60. For                are in response to coercion against the                remain temporarily in the United States
                                                   subheadings 9802.00.40, 9802.00.50, and                    proposed recipient or donor, or (C) would              is not contrary to the U.S. national
                                                   9802.00.60, the additional duties apply to the             endanger Armed Forces of the United States             interest. The 2023 designation of
                                                   value of repairs, alterations, or processing               which are engaged in hostilities or are in a           Venezuela for TPS is set to expire on
                                                   performed (in China and Hong Kong), as                     situation where imminent involvement in                April 2, 2025. After reviewing country


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                                                   conditions and considering whether                         At least 60 days before the expiration             See Designation of Venezuela for
                                                   permitting Venezuelan nationals                         of a foreign state’s TPS designation or               Temporary Protected Status and
                                                   covered by the 2023 designation is                      extension, the Secretary, after                       Implementation of Employment
                                                   contrary to the national interest of the                consultation with appropriate U.S.                    Authorization for Venezuelans Covered
                                                   United States, in consultation with the                 Government agencies, must review the                  by Deferred Enforced Departure, 86 FR
                                                   appropriate U.S. Government agencies,                   conditions in the foreign state                       13574 (Mar. 9, 2021).
                                                   the Secretary of Homeland Security has                  designated for TPS to determine                          On September 8, 2022, then Secretary
                                                   determined that Venezuela no longer                     whether they continue to meet the                     Mayorkas extended the Venezuela 2021
                                                   continues to meet the conditions for the                conditions for the TPS designation. See               TPS designation for 18 months. See
                                                   2023 designation. In particular, the                    INA 244(b)(3)(A), 8 U.S.C.                            Extension of the Designation of
                                                   Secretary has determined it is contrary                 1254a(b)(3)(A). If the Secretary                      Venezuela for Temporary Protected
                                                   to the national interest to permit the                  determines that the conditions in the                 Status, 87 FR 55024 (Sept. 8, 2022). On
                                                   covered Venezuelan nationals to remain                  foreign state continue to meet the                    October 3, 2023, Secretary Mayorkas
                                                   temporarily in the United States. The                   specific statutory criteria for TPS                   extended the Venezuela 2021 TPS
                                                   Secretary therefore is terminating the                  designation, TPS will be extended for an              designation for another 18 months with
                                                   2023 TPS designation of Venezuela.                      additional period of 6 months or, in the              an expiration date of September 10,
                                                   This termination is effective April 7,                  Secretary’s discretion, 12 or 18 months.              2025, and separately newly designated
                                                   2025. After April 7, 2025, nationals of                 See INA 244(b)(3)(A), (C), 8 U.S.C.                   Venezuela for 18 months, a decision the
                                                   Venezuela (and aliens having no                         1254a(b)(3)(A), (C). If the Secretary                 former Secretary called a
                                                   nationality who last habitually resided                 determines that the foreign state no                  ‘‘redesignation’’ (Venezuela 2023
                                                   in Venezuela) who have been granted                     longer meets the conditions for TPS                   designation) with an expiration of April
                                                   TPS under the 2023 Venezuela                            designation, the Secretary must                       2, 2025, resulting in two separate and
                                                   designation will no longer have TPS.                    terminate the designation. See INA                    concurrent Venezuela TPS designations.
                                                   This termination determination does not                 244(b)(3)(B), 8 U.S.C. 1254a(b)(3)(B).                See Extension and Redesignation of
                                                   apply to the 2021 designation of                           TPS is a temporary immigration                     Venezuela for Temporary Protected
                                                   Venezuela for TPS, which remains in                     benefit granted to eligible nationals of a            Status, 88 FR 68130 (Oct. 3, 2023).
                                                   effect until September 10, 2025, or to                  country designated for TPS under the                     On January 17, 2025, Secretary
                                                   individuals who are registered for TPS                  INA, or to eligible aliens without                    Mayorkas issued a notice extending the
                                                   under the 2021 designation.                             nationality who last habitually resided               2023 designation of Venezuela for TPS
                                                                                                           in the designated country. During the                 for 18 months. The notice was based on
                                                   DATES: The October 3, 2023 designation
                                                                                                           TPS designation period, TPS                           then Secretary Mayorkas’s January 10,
                                                   of Venezuela for TPS is terminated
                                                                                                           beneficiaries are eligible to remain in               2025 determination that the conditions
                                                   effective at 11:59 p.m., local time, on
                                                                                                           the United States, may not be removed,                for the designation continued to be met.
                                                   April 7, 2025.
                                                                                                           and are authorized to work and obtain                 See INA 244(b)(3)(A), (C), 8 U.S.C.
                                                   FOR FURTHER INFORMATION CONTACT:                        an Employment Authorization                           1254a(b)(3)(A), (C). In the January 2025
                                                   Samantha Deshommes, Chief,                              Document (EAD) so long as they                        notice, Secretary Mayorkas did not
                                                   Regulatory Coordination Division,                       continue to meet the requirements of                  expressly extend or terminate the 2021
                                                   Office of Policy and Strategy, U.S.                     TPS. TPS beneficiaries may also apply                 Venezuela designation. Instead, the
                                                   Citizenship and Immigration Services,                   for and be granted travel authorization               notice allowed for a consolidation of
                                                   Department of Homeland Security, 800–                   as a matter of discretion. The granting               filing processes such that all eligible
                                                   375–5283.                                               of TPS does not result in or lead to                  Venezuela TPS beneficiaries (whether
                                                   SUPPLEMENTARY INFORMATION:                              lawful permanent resident status or any               under the 2021 or 2023 designations)
                                                   What is Temporary Protected Status                      other immigration status. To qualify for              could obtain TPS through the same
                                                   (TPS)?                                                  TPS, beneficiaries must meet the                      extension date of October 2, 2026. See
                                                                                                           eligibility standards at INA section                  Extension of the 2023 Designation of
                                                     The Immigration and Nationality Act                   244(c)(2), 8 U.S.C. 1254a(c)(2). When                 Venezuela for Temporary Protected
                                                   (INA) authorizes the Secretary of                       the Secretary terminates a country’s TPS              Status, 90 FR 5961 (Jan. 17, 2025).
                                                   Homeland Security, after consultation                   designation, beneficiaries return to the                 On January 28, 2025, Secretary of
                                                   with appropriate agencies of the U.S.                   same immigration status or category that              Homeland Security Kristi Noem vacated
                                                   Government, to designate a foreign state                they maintained before TPS, if any                    former Secretary Mayorkas’s January 10,
                                                   (or part thereof) for TPS if the Secretary              (unless that status or category has since             2025 decision, restoring the status quo
                                                   determines that certain country                         expired or been terminated), or any                   that preceded that decision.1
                                                   conditions exist. INA 244(b)(1), 8 U.S.C.               other lawfully obtained immigration                   Accordingly, a determination whether
                                                   1254a(b)(1). The determination whether                  status or category they received while                to extend the 2023 Venezuela
                                                   to designate any foreign state (or part                 registered for TPS, as long as it is still            designation was due by February 1,
                                                   thereof) for TPS is discretionary, and                  valid on the date TPS terminates.                     2025. The Department of Homeland
                                                   there is no judicial review of ‘‘any
                                                                                                           Designation of Venezuela for TPS                      Security (DHS or Department) estimates
                                                   determination of the [Secretary] with
                                                                                                                                                                 that approximately 348,202 aliens are
                                                   respect to the designation, or                             On March 9, 2021, then Secretary of
                                                                                                                                                                 eligible for TPS under the 2023
                                                   termination or extension of a                           Homeland Security Alejandro Mayorkas
                                                                                                                                                                 Venezuela designation.
                                                   designation, of a foreign state’’ for TPS.              designated Venezuela for TPS based on
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                                                   INA 244(b)(5)(A), 8 U.S.C.                              his determination that there existed                  Secretary’s Authority To Terminate the
                                                   1254a(b)(5)(A). The Secretary, in the                   ‘‘extraordinary and temporary                         2023 Designation of Venezuela for TPS
                                                   Secretary’s discretion, may then grant                  conditions’’ in Venezuela that prevented                At least 60 days before the expiration
                                                   TPS to eligible nationals of that foreign               nationals of Venezuela from returning in              of a country’s TPS designation or
                                                   state (or individuals having no                         safety and that permitting such aliens to             extension, the Secretary, after
                                                   nationality who last habitually resided                 remain temporarily in the United States
                                                   in the designated foreign state). See INA               is not contrary to the U.S. national                    1 See Vacatur of 2025 Temporary Protected Status

                                                   244(a)(1)(A), 8 U.S.C. 1254a(a)(1)(A).                  interest (Venezuela 2021 designation).                Decision for Venezuela, 88 FR 8805 (Feb. 3, 2025).



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                                                   consultation with appropriate                           2023 Venezuela TPS designation is                         informed by her consultations with
                                                   Government agencies, must review the                    required because it is contrary to the                    appropriate U.S. Government agencies.
                                                   conditions in a foreign state designated                national interest to permit the                              President Trump in his recent,
                                                   for TPS to determine whether the                        Venezuelan nationals (or aliens having                    immigration and border-related
                                                   conditions for the TPS designation                      no nationality who last habitually                        executive orders and proclamations
                                                   continue to be met. See INA section                     resided in Venezuela) to remain                           clearly articulated an array of policy
                                                   244(b)(3)(A), 8 U.S.C. 1254a(b)(3)(A). If               temporarily in the United States.3                        imperatives bearing upon the national
                                                   the Secretary determines that the foreign                 In the TPS statute, Congress expressly                  interest. First, the President directed the
                                                   state no longer meets the conditions for                prohibits the Secretary from designating                  Secretary to terminate, as contrary to the
                                                   TPS designation, the Secretary must                     a country for TPS or extending a TPS                      policy of the United States, the parole
                                                   terminate the designation, but such                     designation if she finds that ‘‘permitting                program known as the ‘‘Processes for
                                                   termination may not take effect earlier                 the aliens to remain temporarily in the                   Cubans, Haitians, Nicaraguans, and
                                                   than 60 days after the date the Federal                 United States is contrary to the national                 Venezuelans’’ (CHNV). The parole
                                                   Register notice of termination is                       interest of the United States.’’ INA                      process for Venezuelans had been in
                                                   published, or if later, the expiration of               244(b)(1), 8 U.S.C. 1254a(b)(1).                          effect since October 19, 2022, allowing
                                                   the most recent previous extension of                   Accordingly, as the Department and the                    hundreds of thousands of inadmissible
                                                   the country designation. See INA                        Attorney General have long recognized,                    Venezuelans to enter the United States
                                                   section 244(b)(3)(B), 8 U.S.C.                          such a ‘‘national interest’’ assessment is                at interior ports of entry and remain in
                                                   1254a(b)(3)(B). The Secretary may                       an essential element of a determination                   this country, generally for a period of
                                                   determine the appropriate effective date                whether to extend or terminate the 2023                   two years, with employment
                                                   of the termination and the expiration of                Venezuela designation, which was                          authorization eligibility.6 DHS estimates
                                                   any TPS-related documentation, such as                  based on ‘‘extraordinary and temporary                    that 33,600 CHNV parolees from
                                                   EADs. See id.; see also INA 244(d)(3), 8                conditions.’’ 4                                           Venezuela availed themselves of TPS.
                                                   U.S.C. 1254a(d)(3) (providing the                         ‘‘National interest’’ is an expansive                   Venezuelan CHNV parolees, along with
                                                   Secretary the discretionary ‘‘option’’ to               standard that may encompass an array                      Venezuelan nationals who crossed
                                                   allow for a certain ‘‘orderly transition’’              of broad considerations, including                        illegally into the United States, who had
                                                   period if she determines it to be                       foreign policy, public safety (e.g.,                      been continuously residing in the
                                                   appropriate).                                           potential nexus to criminal gang                          United States since July 31, 2023, and
                                                                                                           membership), national security,                           continuously present in the United
                                                   Reasons for the Secretary’s                             migration factors (e.g., pull factors),                   States since October 3, 2023, were able
                                                   Termination of the 2023 TPS                             immigration policy (e.g., enforcement                     to secure TPS and TPS-based
                                                   Designation for Venezuela                                                                                         employment authorization under the
                                                                                                           prerogatives), and economic
                                                     Consistent with section 244(b)(3)(A)                  considerations (e.g., adverse effects on                  2023 Venezuela designation.
                                                   of the INA, 8 U.S.C. 1254a(b)(3)(A), after              U.S. workers, impact on U.S.                                 TPS has allowed a significant
                                                   consulting with appropriate U.S.                        communities).5 Determining whether                        population of inadmissible or illegal
                                                   Government agencies, DHS reviewed                       permitting a class of aliens to remain                    aliens without a path to lawful
                                                   conditions in Venezuela and considered                  temporarily in the United States is                       immigration status to settle in the
                                                   whether permitting the Venezuelan                       contrary to the U.S. national interest                    interior of the United States, and the
                                                   nationals to remain temporarily in the                  therefore calls upon the Secretary’s                      sheer numbers have resulted in
                                                   United States is contrary to the national               expertise and discretionary judgment,                     associated difficulties in local
                                                   interest of the United States.2                                                                                   communities where local resources have
                                                     The Department, in consultation with                     3 See INS v. Bagamasbad, 429 U.S. 24, 25 (1976)        been inadequate to meet the demands
                                                   the Department of State, has reviewed                   (per curiam) (‘‘As a general rule courts and agencies     caused by increased numbers. Among
                                                   conditions in Venezuela and has                         are not required to make findings on issues the           these Venezuelan nationals who have
                                                   considered whether permitting                           decision of which is unnecessary to the results they
                                                                                                           reach.’’).
                                                                                                                                                                     crossed into the United States are
                                                   Venezuelan nationals to remain                             4 Cf., e.g., Termination of Designation of Liberia     members of the Venezuelan gang known
                                                   temporarily in the United States is                     Under Temporary Protected Status Program After            as Tren de Aragua.7 Tren de Agua has
                                                   contrary to the U.S. national interest.                 Final 6-Month Extension, 63 FR 15437, 15438 (Mar.         been blamed for sex trafficking, drug
                                                   Overall, certain conditions for the 2023                31, 1998) (terminating Liberia TPS designation after      smuggling, police shootings,
                                                                                                           ‘‘consultations with the appropriate agencies of the
                                                   TPS designation of Venezuela may                        U.S. Government concerning (a) the conditions in          kidnappings, and the exploitation of
                                                   continue; however, there are notable                    Liberia; and (b) whether permitting nationals of          migrants. The United States has
                                                   improvements in several areas such as                   Liberia . . . to remain temporarily in the United         sanctioned the gang and placed it on a
                                                   the economy, public health, and crime                   States is contrary to the national interest of the        list of transnational criminal
                                                   that allow for these nationals to be                    United States’’).
                                                                                                              5 See, e.g., Poursina v. USCIS, 936 F.3d 868, 874
                                                                                                                                                                     organizations.8 In Executive Order
                                                   safely returned to their home country.                  (9th Cir. 2019) (observing, in an analogous INA           14157, Designating Cartels and Other
                                                     Based on the Department’s review, the                 context, ‘‘that the ‘national interest’ standard
                                                   Secretary has determined that, even                     invokes broader economic and national-security               6 See Implementation of a Parole Process for

                                                   assuming the relevant conditions in                     considerations, and such determinations are firmly        Venezuelans, 87 FR 63507 (Oct. 19, 2022); see also
                                                   Venezuela remain both ‘‘extraordinary’’                 committed to the discretion of the Executive              Implementation of Changes to the Parole Process
                                                                                                           Branch—not to federal courts’’ (citing Trump v.           for Venezuelans, 88 FR 1279 (Jan. 9, 2023).
                                                   and ‘‘temporary,’’ termination of the                   Hawaii, 585 U.S. 667, 684–86 (2018)); Flores v.              7 Joshua Goodman, Tren de Aragua gang started
                                                                                                           Garland, 72 F.4th 85, 89–90 (5th Cir. 2023) (same);       in Venezuela’s prisons and now spreads fear in the
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                                                     2 See also E.O. 14159, Protecting the American        Brasil v. Sec’y, Dep’t of Homeland Sec., 28 F.4th         US, Associated Press, Sept. 24, 2024, available at:
                                                   People Against Invasion, sec. 16(b), 90 FR 8443,        1189, 1193 (11th Cir. 2022) (same); cf. Matter of D–      https://apnews.com/article/tren-de-aragua-gang-
                                                   8446 (Jan. 20, 2025) (directing that the Secretary      J-, 23 I&N Dec. 572, 579–81 (A.G. 2003) (recognizing      venezuela-us-a12c8fee9dc4a0ca73769ea893e09e53
                                                   should ‘‘ensur[e] that designations of Temporary        that taking measures to stem and eliminate possible       (last accessed Jan. 28, 2025).
                                                   Protected Status are consistent with the provisions     incentives for potential large-scale migration from          8 Joshua Goodman, US sanctions a Venezuela

                                                   of section 244 of the INA (8 U.S.C. 1254a), and that    a given country is ‘‘sound immigration policy’’ and       gang for spreading criminal activity across Latin
                                                   such designations are appropriately limited in          an ‘‘important national security interest’’); Matter of   America, Associated Press, July 11, 2024, available
                                                   scope and made for only so long as may be               Dhanasar, 26 I&N Dec. 884, 890–91 (AAO 2016)              at: https://apnews.com/article/washington-
                                                   necessary to fulfill the textual requirements of that   (taking into account impact on U.S. workers in            venezuela-gang-sanctions-f742f6966d160ee80
                                                   statute’’).                                             ‘‘national interest’’ assessments).                       b703ed419dfdac3 (last accessed Jan. 30, 2025).



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                                                   Organizations as Foreign Terrorist                       appropriately limited in scope and                      interests, particularly in the Western
                                                   Organizations and Specially Designated                   made for only so long as may be                         Hemisphere, are best served and
                                                   Global Terrorists, the President                         necessary to fulfill the textual                        protected by curtailing policies that
                                                   determined that Tren de Aragua’s                         requirements of that statute.’’ 16 The                  facilitate or encourage illegal and
                                                   campaign of violence and terror poses                    Department accordingly has reappraised                  destabilizing migration.23
                                                   threats to the United States.9 The                       the national interest factors and given                   In making this finding and
                                                   Secretary accordingly has considered                     strong consideration to the serious                     determination regarding the national
                                                   these important immigration and                          national security, border enforcement,                  interest, the Secretary also has taken
                                                   national interests in terminating the                    public safety, immigration policy, and                  into account the national-interest-
                                                   Venezuela parole process.                                economic and public welfare concerns                    related factors that were presented to
                                                      Second, President Trump observed,                     engendered by illegal immigration of                    former Secretary Mayorkas for his
                                                   referring to CHNV and other policies                     Venezuelans, which the President, DHS,                  consideration for purposes of his now-
                                                   and processes, that ‘‘[o]ver the last 4                  and other federal agencies are seeking to               vacated January 10, 2025 decision.
                                                   years, the prior administration invited,                 stem through other policy actions.                      However, especially in view of
                                                   administered, and oversaw an                                Third, President Trump declared a                    President Trump’s Executive Orders
                                                   unprecedented flood of illegal                           national emergency at the southern                      relating to immigration and after
                                                   immigration into the United States,’’                    border.17 As the Attorney General and                   consulting with the Department of State,
                                                   including millions who crossed U.S.                      DHS have long understood, the                           the Secretary has reached a different
                                                   borders or were allowed to fly to a U.S.                 potential ‘‘magnet effect’’ of a TPS                    conclusion and has determined that
                                                   air port of entry and allowed to settle in               determination is a permissible factor                   permitting such Venezuelan nationals
                                                   American communities.10 The                              under the TPS statute, especially with                  (and aliens with no nationality who last
                                                   prolonged presence of these aliens in                    respect to a redesignation.18 The same is               habitually resided in Venezuela) to
                                                   the United States ‘‘has cost taxpayers                   true for Venezuela.19 The anticipated                   remain in the United States is in fact
                                                   billions of dollars at the Federal, State,               designation or extension for TPS and                    contrary to the national interest, as is
                                                   and local levels.’’ 11 For example, over                 resulting benefit to access EAD have                    the Secretary’s authority and prerogative
                                                   180,000 illegal aliens have settled in                   been pull factors driving Venezuelan                    under the statute.24
                                                   New York City, approximating that this                   nationals to the United States.20 In                    Effective Date of Termination of 2023
                                                   will cost the city $10.6 billion through                 October 2023, DHS stated that there                     Designation
                                                   the summer of 2025.12 Additionally,                      were approximately 243,000 Venezuela
                                                   although mayors from cities across the                   TPS beneficiaries, while also estimating                   The TPS statute provides that the
                                                   United States are attempting to                          that approximately 472,000 additional                   termination of a country’s TPS
                                                   accommodate Venezuelan illegal aliens,                   aliens may be eligible under the October                designation may not be effective earlier
                                                   city shelters, police stations, and aid                  3, 2023 designation.21 Currently, DHS                   than 60 days after the Federal Register
                                                   services are at a maximum capacity.13                    estimates that 348,202 aliens are                       notice is published or, if later, the
                                                      The President underscored that                        registered under the 2023 designation.                  expiration of the most recent previous
                                                   enforcing the immigration laws ‘‘is                         Fourth, as the President directed in                 extension. See INA 244(b)(3)(B), 8
                                                   critically important to the national                     Executive Order 14150, ‘‘the foreign                    U.S.C. 1254a(b)(3)(B). As noted, the
                                                   security and public safety of the United                 policy of the United States shall                       expiration date of the 2023 Venezuela
                                                   States.’’ 14 In furtherance of that                      champion core American interests and                    designation is 60 days from the date of
                                                   objective, the President directed the                    always put America and American                         publication of this notice.
                                                   Secretary, along with the Attorney                       citizens first.’’ 22 Continuing to permit                  The Secretary may determine the
                                                   General and Secretary of State, to                       Venezuelans under the 2023 TPS                          appropriate effective date of the
                                                   promptly take all appropriate action,                    designation to remain in the United                     termination and the expiration of any
                                                   consistent with law, to rescind policies                 States does not champion core                           TPS-related documentation, such as
                                                   that led to increased or continued                       American interests or put American                      EADs, for the purpose of providing for
                                                   presence of illegal aliens in the United                 interests first. U.S. foreign policy                    an orderly transition. See id.; INA
                                                   States.15 Among the directed actions are                                                                         244(d)(3), 8 U.S.C. 1254a(d)(3). Given
                                                   to ensure that the TPS designations are                    16 Id., sec. 16(b), 90 FR 8446.                       the Secretary’s finding that continuing
                                                   consistent with the TPS statute and ‘‘are                   17 Proc. 10886, Declaring a National Emergency at    to permit such Venezuelan nationals to
                                                                                                            the Southern Border of the United States, 90 FR         remain temporarily in the United States
                                                     9 90 FR 8439 (Jan. 20, 2025).                          8327 (Jan. 20, 2025).                                   is contrary to the U.S. national interest,
                                                     10 E.O. 14159, Protecting the American People             18 See Extension of Designation and

                                                                                                            Redesignation of Liberia Under Temporary
                                                                                                                                                                    and considering the relative recency of
                                                   Against Invasion, sec. 1, 90 FR 8443, 8443 (Jan. 20,
                                                   2025).                                                   Protected Status Program, 62 FR 16608, 16609 (Apr.      the designation (Oct. 3, 2023), the
                                                     11 Id.                                                 7, 1997) (‘‘One factor in determining whether           Secretary has determined that it is not
                                                     12 The Cost of the Border Crisis, Testimony before     redesignation is appropriate is whether it will
                                                   the House Budget Committee of Julie Kirchner the         create a ‘magnet effect’ for nationals of the country     23 See U.S. Dep’t of State, Priorities and Mission

                                                   Executive Director, Federation for American              under consideration. In cases where the Attorney        of the Second Trump Administration’s
                                                   Immigration Reform (May 8, 2024), available at:          General contemplates redesignation, she may             Department of State (Jan. 24, 2025), available at
                                                   https://www.congress.gov/118/meeting/house/              consider this possible magnet effect and any other      https://pa.usembassy.gov/priorities-and-mission-of-
                                                   117257/witnesses/HHRG-118-BU00-Wstate-                   factors weighing against redesignation, together        the-second-trump-administrations-department-of-
                                                   KirchnerJ-20240508.pdf (last accessed Jan. 30,           with any discretionary factors in favor of              state/.
                                                   2025).                                                   redesignation.’’).                                        24 See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.
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                                                     13 Center for Strategic & International Studies,          19 See, e.g., Center for Strategic & International
                                                                                                                                                                    State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 59
                                                   The Persistence of the Venezuelan Migrant and            Studies, The Persistence of the Venezuelan Migrant      (Rehnquist, J., concurring in part) (‘‘A change in
                                                   Refugee Crisis (Nov. 27, 2023), available at: https://   and Refugee Crisis (Nov. 27, 2023), available at:       administration brought about by the people casting
                                                   www.csis.org/analysis/persistence-venezuelan-            https://www.csis.org/analysis/persistence-              their votes is a perfectly reasonable basis for an
                                                   migrant-and-refugee-crisis (last accessed Jan. 30,       venezuelan-migrant-and-refugee-crisis (last             executive agency’s reappraisal of the costs and
                                                   2025).                                                   accessed Jan. 30, 2025).                                benefits of its programs and regulations. As long as
                                                     14 E.O. 14159, Protecting the American People             20 See id.
                                                                                                                                                                    the agency remains within the bounds established
                                                   Against Invasion, sec. 1, 90 FR 8443, 8443 (Jan. 20,        21 88 FR 68134.
                                                                                                                                                                    by Congress, it is entitled to assess administrative
                                                   2025).                                                      22 America First Policy Directive to the Secretary   records and evaluate priorities in light of the
                                                     15 Id., sec. 16, 90 FR 8446.                           of State, 90 FR 8337 (Jan. 20, 2025).                   philosophy of the administration.’’).



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                                                   appropriate to allow for a further                      Venezuelan Nationals Registered Under                 INTERNATIONAL TRADE
                                                   transition period. Accordingly, the                     the 2021 Venezuela Designation                        COMMISSION
                                                   termination of the October 3, 2023
                                                                                                              Although unorthodox, the prior                     [Investigation Nos. 701–TA–453 and 731–
                                                   Venezuela TPS designation will be                                                                             TA–1136–1137 (Third Review)]
                                                   effective 60 days from the date of                      Administration issued two separate
                                                   publication of this notice.25                           designations of Venezuela. See 88 FR
                                                                                                                                                                 Sodium Nitrite From China and
                                                      The Secretary has considered putative                68130 (Oct. 3, 2023); 86 FR 13574 (Mar.               Germany
                                                   reliance interests in the 2023 Venezuela                9, 2021). In this notice, DHS is
                                                   TPS designation, especially when                        terminating only the October 3, 2023                  Determinations
                                                   considering whether to allow for an                     Venezuela TPS designation. The 2021                     On the basis of the record 1 developed
                                                   additional transition period akin to that               Venezuela TPS designation remains in                  in the subject five-year reviews, the
                                                   allowed under certain previous TPS                      effect until September 10, 2025.                      United States International Trade
                                                   terminations. Temporary Protected                                                                             Commission (‘‘Commission’’)
                                                                                                           Notice of Termination of the 2023 TPS
                                                   Status, as the name itself makes clear, is                                                                    determines, pursuant to the Tariff Act of
                                                                                                           Designation of Venezuela
                                                   an inherently temporary status, TPS                                                                           1930 (‘‘the Act’’), that revocation of the
                                                   designations are time-limited and must                     By the authority vested in the                     antidumping and countervailing duty
                                                   be periodically reviewed, TPS notices                   Secretary of Homeland Security under                  orders on sodium nitrite from China and
                                                   clearly notify aliens of the designations’              section 244(b)(3) of the INA, 8 U.S.C.                the antidumping duty order on sodium
                                                   expiration dates, and whether to allow                  1254a(b)(3), I have reviewed, in                      nitrite from Germany would be likely to
                                                   for an orderly transition period is left to             consultation with appropriate agencies                lead to continuation or recurrence of
                                                   the Secretary’s unfettered discretion.                  of the U.S. Government, (a) conditions                material injury to an industry in the
                                                   See INA 244(b)(3), (d)(3); 8 U.S.C.                     in Venezuela; and (b) whether                         United States within a reasonably
                                                   1254a(b)(3), (d)(3). Any putative                       permitting the nationals of Venezuela                 foreseeable time.2
                                                   reliance interests of registrants under                 (and aliens having no nationality who
                                                   the Venezuela 2023 designation                                                                                Background
                                                                                                           last habitually resided in Venezuela) to
                                                   therefore merit only diminished weight.                 remain temporarily in the United States                  The Commission instituted these
                                                   Moreover, any such putative reliance                    is contrary to the national interest of the           reviews on July 1, 2024 (89 FR 54536)
                                                   interests are outweighed by the                                                                               and determined on October 4, 2024 that
                                                                                                           United States. Based on my review, I
                                                   overriding, important national interest                                                                       it would conduct expedited reviews (89
                                                                                                           have determined that Venezuela no
                                                   considerations described in this                                                                              FR 85986, October 29, 2024).
                                                                                                           longer continues to meet the conditions                  The Commission made these
                                                   notice.26
                                                                                                           for the October 3, 2023 designation for               determinations pursuant to section
                                                      25 See 8 CFR 244.19 (‘‘Upon the termination of       Temporary Protected Status (TPS) under                751(c) of the Act (19 U.S.C. 1675(c)). It
                                                   designation of a foreign state, those nationals         section 244(b)(1)(C) of the Act, 8 U.S.C.             completed and filed its determinations
                                                   afforded temporary Protected Status shall, upon the     1254a(b)(1)(C).                                       in these reviews on January 31, 2025.
                                                   sixtieth (60th) day after the date notice of
                                                   termination is published in the Federal Register, or       Accordingly, I order as follows:                   The views of the Commission are
                                                   on the last day of the most recent extension of            (1) Pursuant to INA section                        contained in USITC Publication 5582
                                                   designation by the [Secretary of Homeland                                                                     (January 2025), entitled Sodium Nitrite
                                                   Security], automatically and without further notice     244(b)(3)(B), 8 U.S.C. 1254a(b)(3)(B),
                                                   or right of appeal, lose Temporary Protected Status     and considering INA section 244(d)(3),                from China and Germany: Investigation
                                                   in the United States. Such termination of a foreign     8 U.S.C. 1254a(d)(3), the October 3,                  Nos. 701–TA–453 and 731–TA–1136–
                                                   state’s designation is not subject to appeal.’’).
                                                                                                           2023 designation of Venezuela for TPS                 1137 (Third Review).
                                                      26 DHS recognizes that certain previous TPS

                                                   terminations allowed for an extended transition,        is terminated effective at 11:59 p.m.,                  By order of the Commission.
                                                   especially in the case of TPS designations that had     local time, on April 7, 2025.                           Issued: January 31, 2025.
                                                   been extended numerous times over the course of                                                               Lisa Barton,
                                                   many years. See, e.g., Termination of the                  (2) This notice supersedes the January
                                                   Designation of El Salvador for Temporary Protected      17, 2025 notice at 90 FR 5961, the                    Secretary to the Commission.
                                                   Status, 83 FR 2654 (Jan. 18, 2018) (nearly 17 years,    underlying decision for which was                     [FR Doc. 2025–02260 Filed 2–4–25; 8:45 am]
                                                   with 18-month transition period); Termination of        vacated on January 28, 2025.                          BILLING CODE 7020–02–P
                                                   the Designation of Sudan for Temporary Protected
                                                   Status, 82 FR 47228 (Oct. 11, 2017) (20 years, with        (3) Information concerning the
                                                   12-month orderly transition period); Termination of     termination of TPS for nationals of
                                                   the Designation of Sierra Leone Under the                                                                     DEPARTMENT OF JUSTICE
                                                   Temporary Protected Status Program; Extension of        Venezuela (and aliens having no
                                                   Employment Authorization Documentation, 68 FR           nationality who last habitually resided
                                                                                                                                                                 Notice of Cancellation of Task Force
                                                   52407 (Sept. 3, 2003) (nearly 6 years, with 6-month     in Venezuela) under the October 3, 2023
                                                   orderly transition period); Six-Month Extension of                                                            on Research on Violence Against
                                                                                                           designation will be available at local
                                                   Temporary Protected Status Benefits for Orderly                                                               American Indian and Alaska Native
                                                   Transition Before Termination of Liberia’s              USCIS offices upon publication of this
                                                                                                                                                                 Women Meeting
                                                   Designation for Temporary Protected Status, 81 FR       notice and through the USCIS National
                                                   66059 (Sept. 26, 2016) (nearly 2 years, with 6-         Customer Service Center at 1–800–375–                 AGENCY: Office on Violence Against
                                                   month orderly transition period). Those countries,
                                                   however, generally had been designated for TPS for
                                                                                                           5283. This information will be                        Women, United States Department of
                                                   longer periods, and none of those terminations were     published on the USCIS website at                     Justice.
                                                   based on a determination that allowing the aliens       www.USCIS.gov.                                        ACTION: Notice; cancellation of meeting.
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                                                   to remain temporarily in the United States is
                                                   contrary to the U.S. national interest. At the same     Kristi Noem,                                           The Office on Violence Against
                                                   time, certain other TPS designations were
                                                   terminated without allowing for an extended
                                                                                                           Secretary of Homeland Security.                       Women (OVW), U.S. Department of
                                                   transition period. See, e.g., Termination of            [FR Doc. 2025–02294 Filed 2–3–25; 12:15 pm]
                                                                                                                                                                   1 The record is defined in § 207.2(f) of the
                                                   Designation of Angola Under the Temporary               BILLING CODE 9111–97–P
                                                   Protected Status Program, 68 FR 3896 (Jan. 27,                                                                Commission’s Rules of Practice and Procedure (19
                                                   2003) (nearly 3 years, no orderly transition period);                                                         CFR 207.2(f)).
                                                   Termination of Designation of Lebanon Under             (Feb. 8, 1993) (2 years, no extended transition         2 Commissioner Rhonda K. Schmidtlein not

                                                   Temporary Protected Status Program, 58 FR 7582          period).                                              participating.



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